
*990OPINION.
Lansdon:
There is no dispute that the payments in question were made.
The petitioners presented no evidence in support of their contention that the amounts received were either regular or liquidating dividends. The only witness called, the bookkeeper and secretary of Barrett &amp; Company, testified that the payments were made and accounted for as salaries. On this point we approve the determination of the Commissioner.
The petitioners also contend that they are entitled to certain deductions from their respective gross incomes for the taxable year on account of losses sustained during such year. The deductions claimed are on account of losses alleged to have been sustained by reason of the stock of Barrett &amp; Company and certain other corporations becoming worthless in the year 1921. Barrett &amp; Company was a going business concern and handled a very large volume of its usual transactions during that period. The record contains no evidence that its stock or any other stock owned by the petitioners became worthless in 1921.
Judgment will be rendered for the Gomrms-sioner after 15 dags’ notice, wider Bule 50.
